






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-06-166 CR


____________________



LESLEY REED, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the 252nd District Court


Jefferson County, Texas


Trial Cause No. 95601






     MEMORANDUM OPINION 


	On May 4, 2006, we informed the parties that our jurisdiction was not apparent from
the notice of appeal, and notified them that the appeal would be dismissed for want of
jurisdiction unless we received a response showing grounds for continuing the appeal.  No
reply has been filed.

	The notice of appeal seeks to appeal the denial of a motion to recuse.  The trial court's
denial of this motion is not appealable at this time.  See Tex. R. Civ. P. 18a(f) (denial of
motion to recuse is reviewed on appeal from the final judgment); Arnold v. State, 853 S.W.2d
543, 544 (Tex. Crim. App. 1993) (civil rule governing recusal motions applies in a criminal
case).

	Accordingly, we hold the order from which the appellant appeals is not appealable. 
The appeal is dismissed for want of jurisdiction.

	APPEAL DISMISSED FOR LACK OF JURISDICTION.	



								____________________________

									HOLLIS HORTON

										Justice



Opinion Delivered June 28, 2006 

Do Not Publish

Before Gaultney, Kreger, and Horton, JJ.


